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 6
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 7
 8                     SOUTHERN DISTRICT OF CALIFORNIA

 9
10
      JAMES WARYCK and SANGAM SHETH             Case No. 3:22-cv-01096-L-MDD
11
      Plaintiffs,                               DELCARATION OF JAMES WARYCK IN
12                                              SUPPORT OF OPPOSITION TO MOTION
      v.                                        TO TRANSFER VENUE TO INDIANA
13                                              FEDERAL COURT
14 THOR MOTOR COACH, INC.; FORD
      MOTOR COMPANY; MIKE THOMPSON              Hearing Date: 10/21/22
15 RECREATIONAL VEHICLES, SANTA FE              Hearing Time: 10:30 a.m.
      SPRINGS                                   Courtroom: 5B
16 INLAND EMPIRE RV CENTER, INC.
17 d/b/a MIKE THOMPSON RECREATIONAL             Honorable M. James Lorenz
      VEHICLES, SANTA FE SPRINGS RV, and
18    RELIABLE DELIVERY SERVICES, INC

19                      Defendants
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 1         I, James Waryck, am a Plaintiff in California Southern District Court
 2 Case 3:22-cv-01096-L-MDD (“THE Case”). I am over the age of eighteen
 3 (18) years, and I am competent to testify regarding the facts contained herein. I
 4 possess personal knowledge of the facts contained herein and if called upon to
 5 testify I could and would do so as follows:
 6         1.    When my business partner and I bought the Subject Vehicle, we
 7 first negotiated the price of the Vehicle and Payment Terms. Those terms are
 8 memorialized in the Purchase Contract. A True and Correct Copy of that
 9 Contract is attached hereto as EXHIBIT A.
10         2.    The entire process from start to finish with Mike Thompson seemed
11 to be rushed especially considering the amount of money we spent on the RV.
12         3.    When we picked up the RV, the person who was responsible for
13 showing us all the features on the RV rushed through the process and he did not
14 fully understand all the features on the RV himself. I had watched numerous
15 videos on the RV before we picked it up, and it appeared I knew more than the
16 person at the dealership.
17         4.    No one ever informed us or told us at the dealership if there were
18 major issues with the RV we would potentially have to find a lawyer in Indiana.
19         5.    We have spent countless hours, time and energy driving back and
20 forth to have our RV fixed, either at Mike Thompson in Santa Fe Springs or
21 various Ford dealerships.
22         6.    We have only been able to use the RV just a few times, and even
23 those times proved to be challenging because of the issues we experienced with
24 the RV.
25         7.    My children have been directly impacted by me not being able to
26 use the RV, lost time and experiences cannot be replaced.
27         8.    I’m horrified to know that moving this case to Indiana is even a
28 possibility. Especially when it was purchased in CA, we reside in CA, and on

                                                 Declaration of James Waryck        – pp.   1
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 1 top of that, the fact that my neighbor caught the tow truck company where they
 2 crashed our RV into the Del Amo mall underpass in Torrance CA, and then the
 3 tow truck company denied the fact all together, but we have pictures to prove it.
 4         9.    This entire process has been unprofessional, has caused my
 5 business partner undue stress, loss of time and revenue with our business.
 6
 7 Dated: October 3, 2022                 MCMILLAN LAW GROUP, APC

 8                                        By:      /s/James Waryck
 9                                                 James Waryck

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                                                Declaration of James Waryck        – pp.   2
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              EXHIBIT A
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